    Case: 23-60494   Document: 57-2    Page: 1   Date Filed: 12/07/2023




                            No. 23-60494

In the United States Court of Appeals for the Fifth Circuit
                          WILL MCRANEY,
                                             Plaintiff-Appellant,
                                  v.
           THE NORTH AMERICAN MISSION BOARD OF THE
              SOUTHERN BAPTIST CONVENTION, INC.,
                                             Defendant-Appellee.

         On Appeal from the United States District Court
             for the Northern District of Mississippi
                   No. 1:17-cv-00080-GHD-DAS

              BRIEF AMICUS CURIAE OF
      THE BECKET FUND FOR RELIGIOUS LIBERTY
        IN SUPPORT OF DEFENDANT-APPELLEE

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      Case: 23-60494   Document: 57-2       Page: 2   Date Filed: 12/07/2023




  SUPPLEMENTAL STATEMENT OF INTERESTED PERSONS

  Under Fifth Circuit Rule 29.2, undersigned counsel supplements Ap-

pellant and Appellee’s Certificates of Interested Parties to fully disclose

all persons with interest in this amicus brief. These representations are
made in order that the judges of this court may evaluate possible disqual-

ification or recusal. Counsel of record certifies that the following persons

and entities as described Fifth Circuit Rule 29.2 have an interest in the
amicus brief.

  The Becket Fund for Religious Liberty, amicus curiae

  Daniel H. Blomberg, counsel for amicus curiae
  Adèle A. Keim, counsel for amicus curiae

  Amanda G. Dixon, counsel for amicus curiae

             CORPORATE DISCLOSURE STATEMENT

  Amicus Curiae the Becket Fund for Religious Liberty is a non-profit

501(c)(3) organization and has no corporate parent and is not owned in

whole or in part by any publicly held corporation.




                                        i
         Case: 23-60494           Document: 57-2          Page: 3      Date Filed: 12/07/2023




                                   TABLE OF CONTENTS

SUPPLEMENTAL STATEMENT OF INTERESTED PERSONS ............ i

CORPORATE DISCLOSURE STATEMENT............................................. i

TABLE OF AUTHORITIES ..................................................................... iii

INTEREST OF THE AMICUS CURIAE ................................................... 1

STATEMENT OF THE CASE ................................................................... 2

ARGUMENT ............................................................................................... 5

I. Regardless of whether it is a jurisdictional defense, the church
   autonomy doctrine operates as a threshold constitutional
   limitation on civil interference in religion. ........................................... 5

II. The church autonomy doctrine bars the claims in this case.............. 11

    A. Pastor McRaney’s lawsuit should be dismissed under
       the ministerial exception. ............................................................... 12

        1. The ministerial exception protects non-employers. .................. 12

        2. The ministerial exception protects non-hierarchical
           religious groups from religious leadership lawsuits. ................ 16

    B. Pastor McRaney’s lawsuit should be dismissed under
       church autonomy protections barring judicial
       interference in religious questions, deliberations,
       and polity. ........................................................................................ 20

CONCLUSION ......................................................................................... 26

CERTIFICATE OF SERVICE.................................................................. 27

CERTIFICATE OF COMPLIANCE ........................................................ 28




                                                     ii
         Case: 23-60494          Document: 57-2          Page: 4     Date Filed: 12/07/2023




                               TABLE OF AUTHORITIES

                                                                                              Page(s)

Cases

Bacharach v. Star K Certification,
  No. 1142, 2022 WL 4299571 (Md. Ct. Spec. App.
  Sept. 19, 2022) ...................................................................................... 23

Bell v. Presbyterian Church (U.S.A.),
  126 F.3d 328 (4th Cir. 1997) .................................................... 13, 14, 15

Belya v. Kapral,
  59 F.4th 570 (2d Cir. 2022) .............................................................. 9, 24

Belya v. Kapral,
  45 F.4th 621 (2d Cir. 2023) .................................................................... 9

Brazauskas v. Fort Wayne-S. Bend Diocese,
  796 N.E.2d 286 (Ind. 2003) .................................................................. 21

Bryce v. Episcopal Church,
  289 F.3d 648 (10th Cir. 2002) ...................................................... passim

Cannata v. Catholic Diocese of Austin,
  700 F.3d 169 (5th Cir. 2012) ................................................................ 11

Carson v. Makin,
  596 U.S. 767 (2022) ................................................................................ 3

Combs v. Central Tex. Ann. Conf.,
  173 F.3d 343 (5th Cir. 1999) ........................................................ passim

Conlon v. InterVarsity Christian Fellowship,
  777 F.3d 829 (6th Cir. 2015) ........................................................ passim

Dayner v. Archdiocese of Hartford,
  23 A.3d 1192 (Conn. 2011) ................................................................. 7, 8

Demkovich v. St. Andrew the Apostle Parish,
  3 F.4th 968 (7th Cir. 2021) .......................................................... passim


                                                   iii
        Case: 23-60494          Document: 57-2         Page: 5     Date Filed: 12/07/2023




In re Diocese of Lubbock,
   624 S.W.3d 506 (Tex. 2021) ......................................................... passim

EEOC v. Catholic Univ.,
  83 F.3d 455 (D.C. Cir. 1996) ...................................................... 8, 10, 25

EEOC v. Harris Funeral Homes,
  884 F.3d 560 (6th Cir. 2018) ................................................................ 10

El-Farra v. Sayyed,
   226 S.W.3d 792 (Ark. 2006) ...................................................... 23, 25-26

Fitzgerald v. Roncalli High Sch.,
   No. 1:19-cv-4291, 2021 WL 4539199
   (S.D. Ind. Sept. 30, 2021) ....................................................................... 7

Fratello v. Archdiocese of N.Y.,
  863 F.3d 190 (2d Cir. 2017) ............................................................... 1, 7

Grussgott v. Milwaukee Jewish Day Sch.,
  882 F.3d 655 (7th Cir. 2018) ................................................................ 18

Heard v. Johnson,
  810 A.2d 871 (D.C. 2002) ............................................................... 23, 26

Hiles v. Episcopal Diocese of Mass.,
  773 N.E.2d 929 (Mass. 2002) ......................................................... 23, 26

Hosanna-Tabor Evangelical Lutheran Church
  & Sch. v. EEOC,
  565 U.S. 171 (2012) ...................................................................... passim

Hutchison v. Thomas,
  789 F.2d 392 (6th Cir. 1986) .................................................... 15, 17, 25

InterVarsity Christian Fellowship/USA v. Bd. of Governors
   of Wayne State Univ.,
   534 F. Supp. 3d 785 (E.D. Mich. 2021) ......................................... 15, 16

Kirby v. Lexington Theological Seminary,
  426 S.W.3d 597 (Ky. 2014)..................................................................... 8


                                                  iv
        Case: 23-60494          Document: 57-2        Page: 6      Date Filed: 12/07/2023




Larson v. Valente,
  456 U.S. 228 (1982) .............................................................................. 19

Lee v. Sixth Mount Zion Baptist Church,
  903 F.3d 113 (3d Cir. 2018) ................................................ 1, 7-8, 10, 17

Lewis v. Seventh Day Adventists Lake Region Conf.,
  978 F.2d 940 (6th Cir. 1992) ................................................................ 15

McCarthy v. Fuller,
  714 F.3d 971 (7th Cir. 2013) ......................................................... 8-9, 10

McClure v. Salvation Army,
  460 F.2d 553 (5th Cir. 1972) ...................................................... 5, 10, 24

McRaney v. NAMB,
  966 F.3d 346 (5th Cir. 2020) .................................................................. 6

McRaney v. NAMB,
  980 F.3d 1066 (5th Cir. 2020) ............................................................. 11

Natal v. Christian Missionary All.,
  878 F.2d 1575 (1st Cir. 1989) .............................................................. 17

NLRB v. Catholic Bishop,
  440 U.S. 490 (1979) .............................................................................. 10

Our Lady of Guadalupe Sch. v. Morrissey-Berru,
  140 S.Ct. 2049 (2020) ................................................................... passim

Payne-Elliott v. Roman Catholic Archdiocese of Indianapolis,
  193 N.E.3d 1009 (Ind. 2022) ................................................................ 21

Petruska v. Gannon Univ.,
   462 F.3d 294 (3d Cir. 2006) ................................................................... 6

Phillips v. L. Brands Serv. Co.,
  82 F.4th 291 (5th Cir. 2023) ................................................................ 13

Rayburn v. Gen. Conf. of Seventh-Day Adventists,
  772 F.2d 1164 (4th Cir. 1985) .............................................................. 23



                                                  v
        Case: 23-60494          Document: 57-2         Page: 7     Date Filed: 12/07/2023




Serbian E. Orthodox Diocese for U.S. & Can. v. Milivojevich,
  426 U.S. 696 (1976) .............................................................................. 25

Simpson v. Wells Lamont Corp.,
  494 F.2d 490 (5th Cir. 1974) ............................................................ 6, 10

Starkey v. Roman Catholic Archdiocese of Indianapolis,
  41 F.4th 931 (7th Cir. 2022) ................................................ 1, 13, 15, 17

Tomic v. Catholic Diocese of Peoria,
  442 F.3d 1036 (7th Cir. 2006) .......................................................... 8, 10

Tucker v. Faith Bible Chapel,
  36 F.4th 1021 (10th Cir. 2022) .............................................................. 9

Tucker v. Faith Bible Chapel,
  53 F.4th 620 (10th Cir. 2022) ................................................................ 9

Watson v. Jones,
  80 U.S. (13 Wall.) 679 (1872) ................................................................. 5

Westbrook v. Penley,
  231 S.W.3d 389 (Tex. 2007) ................................................................... 8

Whole Woman’s Health v. Smith,
  896 F.3d 362 (5th Cir. 2018) ........................................................ passim

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Asma Afsaruddin, Shari‘a and Fiqh in the United States,
  in The Oxford Handbook of American Islam
  (Yvonne Y. Haddad & Hane I. Smith eds., 2014) ................................. 3

Chief Rabbinate, Encyclopedia Britannica (Oct. 1, 2023) ........................ 4

Do Jehovah’s Witnesses Have a Paid Clergy?, JW.org ............................ 16

Eleanor Nesbitt, Sikhism and the third millennium, in
   Sikhism: A Very Shory Introduction (2d ed. 2016) .............................. 4

Lay Leadership: Volunteer Ministry of the Church,
  ChurchofJesusChrist.org ..................................................................... 16


                                                  vi
        Case: 23-60494       Document: 57-2        Page: 8    Date Filed: 12/07/2023




Lael Weinberger, Is Church Autonomy Jurisdictional?,
  54 Loy. U. Chi. L. J. 471 (2022) ................................................... 7, 8, 10




                                             vii
       Case: 23-60494     Document: 57-2      Page: 9   Date Filed: 12/07/2023




                 INTEREST OF THE AMICUS CURIAE 1
    The Becket Fund for Religious Liberty is a non-profit, nonpartisan law

firm dedicated to protecting the free expression of all religious traditions.

Becket has represented agnostics, Buddhists, Christians, Hindus, Jews,
Muslims, Santeros, Sikhs, and Zoroastrians, among others, in lawsuits

across the country. Becket represented the prevailing parties in both of

the Supreme Court’s ministerial exception decisions. See, e.g., Hosanna-
Tabor Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171

(2012); Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S.Ct. 2049

(2020). Becket has also represented prevailing parties in numerous other
church autonomy cases. See, e.g., Whole Woman’s Health v. Smith, 896

F.3d 362 (5th Cir. 2018); Starkey v. Roman Catholic Archdiocese of Indi-

anapolis, 41 F.4th 931 (7th Cir. 2022); Demkovich v. St. Andrew the Apos-

tle Parish, 3 F.4th 968 (7th Cir. 2021) (en banc); Lee v. Sixth Mount Zion

Baptist Church, 903 F.3d 113 (3d Cir. 2018); Fratello v. Archdiocese of

N.Y., 863 F.3d 190 (2d Cir. 2017); In re Diocese of Lubbock, 624 S.W.3d
506 (Tex. 2021).

    As a firm dedicated to religious liberty for all, Becket is especially con-

cerned with the appellant’s assertion that the Religion Clauses’ protec-

tion for religious leadership decisions applies only to employers and only

1  No counsel for a party authored this brief in whole or in part, and no person other
than amicus, its members, or its counsel made a monetary contribution to fund the
brief’s preparation or submission. This brief has been submitted with a motion for
leave to file it.


                                          1
      Case: 23-60494    Document: 57-2       Page: 10   Date Filed: 12/07/2023




within hierarchical church polities. Br.12. Many influential religious

leaders within a variety of faith groups are not formally “employed,” and

many religious groups in the United States eschew hierarchy—Baptist,

Jewish, Sikh, Muslim and Native American religious communities
among them. “The Constitution leaves it to the collective conscience of

each religious group to determine for itself who is qualified to serve as a

teacher or messenger of its faith.” Hosanna-Tabor, 565 U.S. at 202 (Alito,
J., concurring). That is true whether the “collective conscience” is ex-

pressed through a centralized hierarchy or through a network of cooper-

ating religious organizations of the same faith speaking to each other—
and sometimes warning each other—about a religious leader’s fitness for

office.

                       STATEMENT OF THE CASE

   This case involves an ordained Baptist minister suing over the circum-

stances surrounding his Baptist employer’s decision to let him go at the

suggestion of a partner Baptist ministry. If Pastor Will McRaney had

sued his former employer, the Baptist Convention of Maryland and Del-

aware (Baptist Convention), the district court would have barred his

claims under the First Amendment at the outset. So Pastor McRaney in-

stead sued the Baptist Convention’s ministry partner, the North Ameri-

can Mission Board (Mission Board), for questioning his ministerial abili-

ties both internally and to the Baptist Convention As a result, this case
has dragged on for nearly seven years.


                                         2
      Case: 23-60494    Document: 57-2       Page: 11   Date Filed: 12/07/2023




    That should not have happened. Religious leaders fighting with their

own faith groups over leadership decisions should not be allowed to en-

tangle the federal courts in the dispute, even if their chosen defendant

isn’t their “employer.” The First Amendment cannot be “reduced to a sim-
ple semantic exercise,” and the protections of Religion Clauses should not

be held to turn “on the presence or absence of magic words.” Carson v.

Makin, 596 U.S. 767, 784-85 (2022). The First Amendment’s church au-
tonomy doctrine—and its component protecting religious leadership de-

cisions, the ministerial exception—should have led to the dismissal of

this case at the threshold. Religious leadership decisions are no business
of civil courts. Once the ecclesiastical subject of this case became clear, it

should have been dismissed with prejudice.

    Pastor McRaney asserts that his case is special because Baptists in

the United States do not organize themselves under a central hierarchy.

Br.12. But Baptists are not the only faith community in the United States

that eschew centralized hierarchies. Many others also organize them-

selves in a non-hierarchical fashion. For example:

      • “[T]here is no centralized religious hierarchy … in Sunni Islam,”

        and “juridical authority” in Sunni Islam has been characterized

        as “diffusive[].” 2


2  Asma Afsaruddin, Shari‘a and Fiqh in the United States, in The Oxford Handbook
of American Islam 174, 177 (Yvonne Y. Haddad & Hane I. Smith eds., 2014),
https://perma.cc/DRL5-2LX9.


                                         3
      Case: 23-60494    Document: 57-2       Page: 12   Date Filed: 12/07/2023




     • “[T]here is no tidy, centralized hierarchy” within Sikhism. 3
     • Judaism “has had no central authority” for centuries and “tech-

        nically speaking, the religious authority of all rabbis is equal.” 4

In other words, many religious groups in the United States make deci-
sions through a process of sometimes-lively dialogue between co-religion-

ists. Under Pastor McRaney’s view, federal courts could be dragged into

the middle of any these disagreements so long as the two disputing reli-

gious leaders do not have the same person signing their paycheck.

    “The First Amendment outlaws” “any attempt by government to dic-

tate or even to influence” these kinds of religious disputes. Our Lady, 140
S.Ct. at 2060. Yet in this case, Pastor McRaney used judicial power to

compel two cooperative Baptist ministries through intrusive internal dis-

covery about a leadership decision—including discovery against each
other. The “very process of inquiry” has “impinge[d] on rights guaranteed

by the Religion Clauses,” teaching Baptists and other faith groups that

they must handle religious decisions “with an eye to avoiding litigation

or bureaucratic entanglement” if they want to avoid intrusive discovery,

entangling judicial review, and expensive legal fees. Demkovich, 3 F.4th

at 981, 983 (quoting NLRB v. Catholic Bishop, 440 U.S. 490, 502 (1979)

and Rayburn v. Gen. Conf. of Seventh-Day Adventists, 772 F.2d 1164,

3  Eleanor Nesbitt, Sikhism and the third millennium, in Sikhism: A Very Short In-
troduction 120, 134 (2d ed. 2016), https://perma.cc/5VJQ-EL6A.
4 Chief Rabbinate, Encyclopedia Britannica (Oct. 1, 2023), https://perma.cc/YC6X-
QUP2.


                                         4
     Case: 23-60494   Document: 57-2       Page: 13   Date Filed: 12/07/2023




1171 (4th Cir. 1985)). Allowing the litigation to proceed also transgressed

the “structural” constitutional boundaries placed on civil courts. Whole

Woman’s Health, 896 F.3d at 368, 373. The “coercive effect” of such judi-

cial intrusion on religious autonomy has long and rightly been rejected
by this Court. McClure v. Salvation Army, 460 F.2d 553, 560 (5th Cir.

1972). Yet it was wrongly allowed to occur here.

  The best time to dismiss Pastor McRaney’s lawsuit was nearly seven
years ago. The second-best time is now.

                              ARGUMENT
I. Regardless of whether it is a jurisdictional defense, the church
   autonomy doctrine operates as a threshold constitutional lim-
   itation on civil interference in religion.
  The First Amendment’s Religion Clauses guarantee a sphere of auton-

omy for religious institutions to make internal decisions without govern-

ment interference. This structural protection “lies at the foundation of

our political principles” and safeguards the “relations of church and state

under our system of laws.” Watson v. Jones, 80 U.S. (13 Wall.) 679, 727-

28 (1872). The “principle of church autonomy” is “broad,” barring civil

courts from interfering in matters of faith, doctrine, and “internal man-

agement decisions that are essential to [a faith group’s] central mission.”

Our Lady, 140 S.Ct. at 2060-61. Because the bar forbids judicial intrusion

generally, it is a threshold issue akin to an immunity that must be re-

solved at the earliest opportunity to prevent unconstitutional entangle-

ment in religious issues. This ensures churches’ Free Exercise rights, and

                                       5
       Case: 23-60494       Document: 57-2       Page: 14    Date Filed: 12/07/2023




courts’ Establishment Clause boundaries, are not transgressed by the

process of litigation itself.

    Pastor McRaney argues that the district court must be reversed be-

cause it treated church autonomy doctrine as jurisdictional. But he mis-
understands the nature and function of the doctrine. Whether as a juris-

dictional or affirmative defense, it fully bars Pastor McRaney’s claims

just the same. Accordingly, this Court can affirm the district court as
reaching the correct outcome either way. 5

    Pastor McRaney makes three points in support of his jurisdiction ar-

gument. None help him.

    First, he cites a recent law review article that directly contradicts him.

Br.22. As the article explains, Pastor McRaney’s jurisdictional distinction

has little real-world impact here since the Religion Clauses operate the
same either way: as a threshold immunity that must be resolved at the

earliest possible opportunity to avoid civil interference in religious


5   See, e.g., Petruska v. Gannon Univ., 462 F.3d 294, 302-03 (3d Cir. 2006) (affirming
district court’s 12(b)(1) dismissal under 12(b)(6) because the “church autonomy doc-
trine” is “akin to a government official’s defense of qualified immunity” in that it is a
threshold “barrier to the success of a plaintiff’s claims, but it does not affect the court’s
authority to consider them”); Bryce v. Episcopal Church, 289 F.3d 648, 654-55, 660
(10th Cir. 2002) (affirming dismissal on church autonomy grounds where district
court converted 12(b)(1) motion to summary judgment); cf. McRaney v. NAMB, 966
F.3d 346, 348 n.1 (5th Cir. 2020) (noting “Simpson v. Wells Lamont Corp., 494 F.2d
490, 492, 495 (5th Cir. 1974) stat[ed] that ‘[t]he people of the United States conveyed
no power to Congress to vest its courts with jurisdiction to settle purely ecclesiastical
disputes’ but affirm[ed] summary judgment rather than instructing the district court
to dismiss for lack of jurisdiction”); see also ROA 3984-85 (evaluating motions under
summary judgment standard).


                                             6
      Case: 23-60494   Document: 57-2       Page: 15   Date Filed: 12/07/2023




matters. Lael Weinberger, Is Church Autonomy Jurisdictional?, 54 Loy.

U. Chi. L. J. 471, 497-509 (2022).

  For instance, regardless of whether church autonomy is jurisdictional,

the application of the Religion Clauses must be resolved before reaching
the merits of a minister’s claim against a religious body, to avoid the “in-

herently coercive” effect of judicial “investigation and review” on internal

religious matters. Combs v. Central Tex. Ann. Conf., 173 F.3d 343, 347
(5th Cir. 1999) (quoting McClure, 460 F.2d at 560); Bryce, 289 F.3d at 654

n.1 (courts “resolv[e] the question of [church autonomy] doctrine’s ap-

plicability early in litigation” to “avoid excessive entanglement in church
matters”); Dayner v. Archdiocese of Hartford, 23 A.3d 1192, 1199-1200

(Conn. 2011) (“the very act of litigating a dispute that is subject to the

ministerial exception … mak[es] the discovery and trial process itself a

[F]irst [A]mendment violation”).

  Similarly, as with both threshold jurisdictional defenses and affirma-

tive defenses, church autonomy defenses should be resolved before mer-

its-related discovery takes place. Fratello, 863 F.3d 190 (noting trial court

rightly bifurcated discovery to resolve ministerial exception first); Fitz-

gerald v. Roncalli High Sch., No. 1:19-cv-4291, 2021 WL 4539199, at *1

(S.D. Ind. Sept. 30, 2021) (“courts regularly bifurcate discovery in minis-

terial cases” to “avoid judicial entanglement in … religious institutions”).

And, as with jurisdictional issues, courts will raise the church autonomy
doctrine sua sponte to prevent entanglement. See, e.g., Sixth Mount Zion,


                                        7
      Case: 23-60494   Document: 57-2       Page: 16   Date Filed: 12/07/2023




903 F.3d at 118 & n.4; EEOC v. Catholic Univ., 83 F.3d 455, 460 (D.C.

Cir. 1996). Finally, when a district court denies application of church au-

tonomy protection on legal grounds, that denial is subject to immediate

appellate review. Whole Woman’s Health, 896 F.3d at 368; McCarthy v.
Fuller, 714 F.3d 971, 974-76 (7th Cir. 2013); Kirby v. Lexington Theolog-

ical Seminary, 426 S.W.3d 597, 619 (Ky. 2014); Dayner, 23 A.3d at 1199.

See also Weinberger, supra, at 500-05 (collecting cases addressing these
features).

  These core features are the same regardless of how the Religion

Clauses are conceived because the doctrine is a “structural protection”
against judicial interference writ large. Whole Woman’s Health, 896 F.3d

at 373. Church autonomy is “not only a personal [right]; it is a structural

one that categorically prohibits federal and state governments from be-

coming involved in religious leadership disputes.” Conlon v. InterVarsity

Christian Fellowship, 777 F.3d 829, 836 (6th Cir. 2015); Sixth Mount

Zion, 903 F.3d at 118 n. 4 (doctrine is “rooted in constitutional limits on

judicial authority”); Westbrook v. Penley, 231 S.W.3d 389, 397-98 (Tex.

2007) (“structural restraint on the constitutional power of civil courts”).

Indeed, even when the parties might want a court to adjudicate religious

matters, courts have an “independent” duty to refuse. Tomic v. Catholic

Diocese of Peoria, 442 F.3d 1036, 1042 (7th Cir. 2006). And that duty

arises regardless of whether the Religion Clauses are understood as ju-
risdictional or as an affirmative defense akin to an immunity. McCarthy,


                                        8
      Case: 23-60494   Document: 57-2       Page: 17   Date Filed: 12/07/2023




714 F.3d at 976, 980; Bryce, 289 F.3d at 653, 660. Either way, the “con-

stitution forbids [courts] to tread” in “the internal management of the

church.” Combs, 173 F.3d at 350.

  Second, Pastor McRaney points to sharply divided recent decisions out
of the Tenth and Second Circuits for support that his argument that the

jurisdictional question is dispositive. Br.21 (citing Tucker v. Faith Bible

Chapel, 36 F.4th 1021, 1029 (10th Cir. 2022), cert. denied, 143 S.Ct. 2608
(2023), and Belya v. Kapral, 59 F.4th 570, 584 (2d Cir.), cert. denied, 143

S.Ct. 2609 (2023)). But, as the nine judges who dissented from the denial

of en banc rehearing explained, the jurisdiction issue was irrelevant to
the outcome in both appeals. See Belya, 59 F.4th at 578 (Park, J., dissent-

ing from denial of en banc rehearing); Tucker v. Faith Bible Chapel, 53

F.4th 620, 625 (10th Cir. 2022) (Bacharach, J., dissenting from the denial

of en banc).

  Regardless, those decisions split from this Court’s precedent in both

their analysis and their conclusions. The foundation of their analysis in-

dicated that aspects of the Religion Clauses protect only against liability,

not the burdens of litigation itself. See Tucker, 36 F.4th at 1037; Belya v.

Kapral, 45 F.4th 621, 633 (2d Cir. 2022). But Combs expressly held oth-

erwise, explaining that even “investigating employment discrimination

claims by ministers against their church … would necessarily intrude

into church governance in a manner that would be inherently coercive,”
and that this “independent” injury “alone is enough to bar the


                                        9
     Case: 23-60494   Document: 57-2     Page: 18   Date Filed: 12/07/2023




involvement of the civil courts.” 173 F.3d at 350 (emphasis added) (citing

Simpson, 494 F.2d at 493-94); McClure, 460 F.2d at 560 (noting “coercive

effect” of judicial “investigation and review”); Hosanna-Tabor, 565 U.S.

at 187 (“inquiring into” ecclesiastical dispute was “unconstitutional[ ]”);

see also id. at 205-06 (Alito, J., concurring) (“mere adjudication” of min-

isterial dispute “pose[s] grave problems for religious autonomy”); Catho-

lic Bishop, 440 U.S. at 502 (“very process of inquiry” can violate Religion
Clauses); Catholic Univ., 83 F.3d at 466 (EEOC investigation into minis-

ter’s claims violated Establishment Clause).

  The Tenth and Second Circuits’ flawed foundation led to an equally
flawed conclusion: that the Religion Clauses do not allow interlocutory

appeal. But this Court said the opposite in Whole Woman’s Health, as

have most other courts and scholars to consider the question. 896 F.3d at
373; McCarthy, 714 F.3d at 975-76; see also Weinberger, supra, at 504-05

(collecting cases and scholarly articles). Tucker and Belya are thus both

irrelevant and barred by circuit precedent.

  Third, Pastor McRaney claims that courts will be flooded if, as with

jurisdictional defenses, the church autonomy doctrine cannot be waived.

But the Third, Sixth, and Seventh Circuits don’t allow waiver of church
autonomy defenses. Conlon, 777 F.3d at 836; Sixth Mount Zion, 903 F.3d

at 118 n. 4; Tomic, 442 F.3d at 1042. Again, this is due to the structural

nature of the doctrine, which means that “the Constitution does not per-

mit private parties to waive” it. Conlon, 777 F.3d at 836; see also EEOC


                                    10
      Case: 23-60494      Document: 57-2       Page: 19   Date Filed: 12/07/2023




v. Harris Funeral Homes, 884 F.3d 560, 581 (6th Cir. 2018) (reaching

ministerial exception to ensure non-entanglement even though defend-

ant waived it). In any event, church autonomy cases make up a tiny frac-

tion of the federal docket. Indeed, other than this case, this Court has
only heard two significant church autonomy cases in the decade-plus

since Hosanna-Tabor: Whole Woman’s Health, 896 F.3d 362, and Can-

nata v. Catholic Diocese of Austin, 700 F.3d 169 (5th Cir. 2012). Prevent-
ing church-state entanglement won’t break this Court’s docket.

    Thus, regardless of whether they’re understood as jurisdictional or as

an affirmative defense, a proper application of the Religion Clauses bar
Pastor McRaney’s claims. 6
II. The church autonomy doctrine bars the claims in this case.
    Pastor McRaney’s claims were “brought to protest his dismissal from

church leadership.” ROA.3987. But, as explained above, the Religion

Clauses “categorically prohibit[] federal and state governments from be-
coming involved in religious leadership disputes.” Conlon, 777 F.3d at

6   The district court used the term “ecclesiastical abstention.” See, e.g., ROA.3985.
The Supreme Court has never used that term, but instead has used “church auton-
omy.” Our Lady, 140 S.Ct. at 2061. So have many other federal appellate courts, see
Demkovich, 3 F.4th at 975; Bryce, 289 F.3d at 654, and several judges on this court,
See McRaney v. NAMB, 980 F.3d 1066, 1067, 1078 (5th Cir. 2020) (Ho, J. and Oldham,
J., dissenting from denial of rehearing en banc). And “ecclesiastical abstention” risks
obscuring the nature of the doctrine because the underlying right and restriction are
not merely a discretionary abstention, but an autonomy that requires civil courts to
“stay out” of religious disputes. Our Lady, 140 S.Ct. at 2060. “Church autonomy” is
shorthand and its applicability extends beyond churches or any specific faiths, just
as the ministerial exception extends beyond those individuals and faiths using the
title “minister.” Id. at 2064.


                                          11
     Case: 23-60494   Document: 57-2     Page: 20   Date Filed: 12/07/2023




836. Thus, his suit should have been dismissed—at the outset—as violat-

ing the church autonomy doctrine twice over. First, it should have been

dismissed under the ministerial exception, the “component” of the doc-

trine of that “outlaws” government interference in religious leadership
decisions. Our Lady, 140 S.Ct. at 2060. Second, it should have been dis-

missed under the prohibition on judicial entanglement in religious ques-

tions, deliberations, and polity. Both violations have been clear since the
day the lawsuit was filed. Pastor McRaney sought to have a court decide

whether a Southern Baptist ministry’s criticism of him to another South-

ern Baptist ministry was both unjustified and the proximate cause of his
dismissal from his position of spiritual leadership. These are not only

questions that a secular court isn’t equipped to answer—they are ques-

tions that civil courts may not even entertain.
  A. Pastor McRaney’s lawsuit should be dismissed under the
     ministerial exception.
     1. The ministerial exception protects non-employers.

  The district court agreed that Pastor McRaney was clearly a minister
raising claims clearly barred by the ministerial exception, yet held that

the ministerial exception didn’t apply—solely because there was not an

employment relationship between Pastor McRaney and the Mission

Board. ROA.154-56. Pastor McRaney repeats that argument here. Br.26-

27. This Court should affirm on the grounds that the ministerial




                                    12
      Case: 23-60494   Document: 57-2     Page: 21   Date Filed: 12/07/2023




exception bars Pastor McRaney’s suit. Phillips v. L. Brands Serv. Co., 82

F.4th 291, 297 (5th Cir. 2023).

  In his brief to this Court, Pastor McRaney fails to cite a single prece-

dent supporting his argument. Nor could he. When courts have directly
faced the argument, they have rejected it. For instance, in Starkey v. Ro-

man Catholic Archdiocese of Indianapolis, the plaintiff sued both her

school employer and the archdiocese that allegedly influenced the
school’s decision to let her go. 41 F.4th 931 (7th Cir. 2022). Like Pastor

McRaney, she argued that the archdiocese was not protected by the min-

isterial exception because it was not her employer, and thus was liable
under state tort law for interfering with her employment relationship

with the school. Plaintiff-Appellant’s Br. at 42-43, Starkey, 41 F.4th 931

(No. 21-2524), 2021 WL 5145858. The Seventh Circuit was unmoved,

finding that adjudicating such torts would still interfere in religious lead-

ership decisions and “result in excessive judicial entanglement in eccle-

siastical matters.” Starkey, 41 F.4th at 945. The court concluded that

“[t]he ministerial exception bars all her claims, federal and state.” Id.

  Similarly, in Bell v. Presbyterian Church (U.S.A.), the Fourth Circuit

dismissed a case brought by a United Church of Christ pastor against

Presbyterian, Methodist, and Baptist denominational entities that finan-

cially supported the religious nonprofit that employed him. 126 F.3d 328,

332-33 (4th Cir. 1997). The pastor was not employed by the defendants—
nor was he even of the same denomination—and he sued them for their


                                     13
      Case: 23-60494   Document: 57-2    Page: 22   Date Filed: 12/07/2023




role in interfering in his employment by ceasing their financial support.

Id. at 329. There, as here, the pastor “characterize[d] this as a secular

dispute between the [defendants] and a third party.” Id. at 332. But the

court held his claims still failed under the ministerial exception because
resolving them “would interpose the judiciary into the Presbyterian

church’s decisions, as well as the decisions of the other [defendant]

churches, relating to how and by whom they spread their mes-
sage … through the granting or withholding of funds.” Id.

  Pastor McRaney attempts to distinguish Bell on the grounds that the

pastor in Bell “effectively” sued his employer when he sued his organiza-
tion’s four major funders. Br.27. But this gives the game away, because

as Pastor McRaney claimed in his complaint, it was the Mission Board’s

decision to withdraw funding from the Baptist Convention that prompted

his termination. ROA.1318-19. If suing the religious organizations that

fund your employer is “effectively” suing your employer, then Pastor

McRaney is “effectively” in the same spot as Pastor Bell, and his lawsuit

should have long since been dismissed on the same grounds.

  Indeed, even if employment relationship were the touchstone, Pastor

McRaney’s claims would qualify, because they are targeted at the circum-

stances surrounding his dismissal as a minister. By suing over matters

related to his termination, he is chilling the Baptist Convention’s right to

make ministerial decisions on any grounds it chooses. That decision is
the “church’s alone.” Hosanna-Tabor, 565 U.S. at 195 (emphasis added).


                                    14
     Case: 23-60494   Document: 57-2    Page: 23   Date Filed: 12/07/2023




That means, at a minimum, that the Baptist Convention should be able

to take into account the views of its formal ministry partners like the

Mission Board when making decisions about spiritual leadership. Limit-

ing the ministerial exception to employment disputes will allow other dis-
gruntled ministers to dodge the ministerial exception by selectively suing

their employers’ ministry partners. The district court’s unprecedented

narrowing of the exception incentivizes creative pleading and ultimately
undermines the exception’s purpose.

  In any event, courts have declined to treat formal employment as a

necessary condition in a variety of ways. See Starkey, 41 F.4th at 945
Bell, 126 F.3d at 332; see also Lewis v. Seventh Day Adventists Lake Re-

gion Conf., 978 F.2d 940, 941-43 (6th Cir. 1992) (dismissing claims

brought by former pastor’s wife against her husband’s church employer);

Hutchison v. Thomas, 789 F.2d 392, 396 n.2 (6th Cir. 1986) (same); Inter-

Varsity Christian Fellowship/USA v. Bd. of Governors of Wayne State

Univ., 534 F. Supp. 3d 785, 797 (E.D. Mich. 2021) (ministerial exception

applied to a religious group’s part-time volunteer student leaders). And

for good reason. Shrinking the right to employment alone would vastly

reduce free exercise and expand judicial entanglement—allowing civil

disputes by everyone from Sunday School teachers to deacons to monks

who take vows of poverty. It would unfairly penalize religious groups like

the Church of Jesus Christ of Latter-day Saints and Jehovah’s Witnesses,




                                   15
      Case: 23-60494      Document: 57-2       Page: 24   Date Filed: 12/07/2023




who for theological reasons have few to no paid clergy. 7 And it would al-
low the government to impose qualifications on religious leaders, simply

because they are volunteers—as is often the case with the religious lead-

ership of religious student groups on college campuses. See Wayne State,
534 F. Supp. 3d at 797 (barring that result).
      2. The ministerial exception protects non-hierarchical reli-
         gious groups from religious leadership lawsuits.
    After his failed employment argument, Pastor McRaney pivots to a

grab-bag of other arguments seeking to limit the scope of the Religion

Clauses.

    First, he argues that his case “does not involve an intra-church dis-

pute” or a dispute over “church governance” because neither the Mission

Board nor the Baptist Convention are “churches.” Br.23-34. But “in order

to invoke the exception,” a defendant “need not be a traditional religious
organization such as a church, diocese, or synagogue,” but rather only be

an entity “whose ‘mission is marked by clear or obvious religious charac-

teristics.’” Conlon, 777 F.3d at 834. For instance, Hosanna-Tabor and

Our Lady involved religious elementary schools. And Conlon held that


7  Lay Leadership: Volunteer Ministry of the Church, ChurchofJesusChrist.org,
https://perma.cc/982G-5Y69 (“The Church of Jesus Christ of Latter-day Saints func-
tions in large measure because of the unpaid volunteer ministry of its members. In
fact, this lay ministry is one of the Church’s most defining characteristics.”); Do Je-
hovah’s Witnesses Have a Paid Clergy?, JW.org, https://t.ly/L4PlI (citation omitted)
(“Jehovah’s Witnesses have no clergy-laity division. All baptized Witnesses are or-
dained ministers … Spiritually mature men in each congregation serve as … elders.
They do so without being paid for their services.”).


                                          16
      Case: 23-60494   Document: 57-2    Page: 25   Date Filed: 12/07/2023




the ministerial exception applies to “multidenominational and nonde-

nominational” religious organizations that are not churches. 777 F.3d at

834 (noting cases protecting Methodist hospital and Jewish nursing

home).
  Second, Pastor McRaney argues that the district court was wrong to

rely on Hosanna-Tabor, because its holding does not apply to breach of

contract or tort claims. Br.26. But Hosanna-Tabor was not setting a sub-
stantive limit on the ministerial exception—just explaining the scope of

the case before it. 565 U.S. at 196. And other courts to consider the ques-

tion have been clear that the ministerial exception bars any claims that
would interfere with ministerial selection, termination, or control. See

Combs, 173 F.3d at 350. That has long included contract and tort claims.

Hutchison, 789 F.2d at 392-93, 396 n.2; Natal v. Christian Missionary

All., 878 F.2d 1575, 1576-78 (1st Cir. 1989). And it still does. Starkey, 41

F.4th at 944 (tort); Sixth Mount Zion, 903 F.3d at 123 (contract).

  Third, Pastor McRaney tries to bar Baptists and other non-hierar-

chical faiths from protection by the ministerial exception. To this end, he

cites Baptist historian Barry Hankins thirteen times in his brief, more

than he cites McClure, Hosanna-Tabor and Our Lady combined. His

statement of the case includes three pages of block-quotes from Dr.

Hankins’ expert report (Br.12-14), and Pastor McRaney takes both the

district court and other Baptist organizations to task for failing to use
certain theological terms to refer to Baptist polity. Br.6-7, 22-23, 36.


                                    17
      Case: 23-60494   Document: 57-2     Page: 26   Date Filed: 12/07/2023




Pastor McRaney includes Dr. Hankins’ opinion that, while the ministe-

rial exception might apply to Catholics, Lutherans, and Episcopalians, it

can never apply in a dispute between Baptist organizations, because of

Baptists’ strong belief in the spiritual autonomy of each congregation.
Br.12-13. And he ends with Dr. Hankins’ view that Pastor McRaney’s

“claims against [the Mission Board] are, from a First Amendment stand-

point, no different than if he worked for a secular organization separate
from [the Mission Board],” and that a ruling for the Mission Board would

burden Pastor McRaney’s Free Exercise rights. Br.14. All this confirms

the Seventh Circuit’s conclusion that it is the court’s job, not any expert’s,
to decide the legal “ultimate question” of whether the ministerial excep-

tion applies. Grussgott v. Milwaukee Jewish Day Sch., 882 F.3d 655, 662

(7th Cir. 2018).

  Baptists in America are free to organize themselves as they wish. But

their theological decision to operate autonomously does not change the

structural constitutional prohibition against drawing secular courts into

religious leadership disputes. The fact that the cooperation between the

Baptist Convention and the Mission Board was, as a spiritual matter,

voluntary does not make it any less real. And the fact that Pastor

McRaney alleges the Mission Board and the Baptist Convention used

words, rather than hierarchical authority, to persuade fellow Baptists to

think twice before calling Pastor McRaney as a minister, inviting him to
speak at a missions conference, or reading his book on evangelism does


                                     18
      Case: 23-60494   Document: 57-2    Page: 27   Date Filed: 12/07/2023




not arm Pastor McRaney with tort law claims that ministers in hierar-

chical faiths do not have.

  The favoritism that Pastor McRaney is arguing for is not only uncon-

stitutional in its own right, see Larson v. Valente, 456 U.S. 228, 245
(1982), but would have perverse effects. Hierarchical churches would be

free to warn their members against bad ministers, as in Diocese of Lub-

bock, 624 S.W.3d at 518, but independent churches would have no such
ability. Baptist shepherds who prey on their flock would be allowed to

leave one congregation and search for a new flock, and if sister churches

asked the old church for information on pastoral fitness, the minister
would be able to sue their old churches for saying anything negative

about them. Other non-hierarchical faith groups, like the Muslim, Jew-

ish, and Sikh communities identified above, would likewise be left unable

to protect themselves against fallen imams, rabbis, and granthis.

  That is not only unconstitutional, it is profoundly unwise. As the Su-

preme Court observed in Our Lady, “a church’s independence on matters

‘of faith and doctrine’ requires the authority to select, supervise, and if

necessary, remove a minister without interference by secular authorities”

because “without that power, a wayward minister’s preaching, teaching,

and counseling could contradict the church’s tenets and lead the congre-

gation away from the faith.” Our Lady, 140 S.Ct. at 2060-61. The district

court’s ruling on the ministerial exception would permit all of this, unless
the religious leaders happened to be employed by the same organization.


                                    19
      Case: 23-60494   Document: 57-2       Page: 28   Date Filed: 12/07/2023




This holding was wrong, and this Court should take the opportunity to

correct it now.

                                *       *      *

  Pastor McRaney has the ministerial exception backwards (Br.26-27):
in reality his case is far easier than Hosanna-Tabor and Our Lady. In

those cases, the federal courts were called to weigh the “undoubtedly im-

portant” protection that federal law provides for those facing invidious
employment discrimination against the First Amendment’s “special so-

licitude” for religious autonomy. Hosanna-Tabor, 565 U.S. at 189, 196.

Each of those decisions concluded, correctly, that religious autonomy
must prevail. But there is no such countervailing federal interest here,

making the outcome even clearer. When a fired religious leader asks the

courts to help him punish co-religionists for criticizing his religious per-

formance, the answer must be no.
  B. Pastor McRaney’s lawsuit should be dismissed under
     church autonomy protections barring judicial interference
     in religious questions, deliberations, and polity.
   Pastor McRaney’s claims also must be dismissed because they inde-

pendently violate three other components of the church autonomy doc-

trine: the bans on judicial interference in religious questions, religious

deliberations, or religious polity.

   First, resolving Pastor McRaney’s claims requires judicial entangle-

ment in religious questions. The District Court held—and Pastor

McRaney does not dispute—that his tortious interference claim requires

                                      20
      Case: 23-60494   Document: 57-2     Page: 29   Date Filed: 12/07/2023




the court to decide whether the Mission Board acted “without right or

justifiable cause,” and whether the Mission Board’s communications

were the “proximate cause” of his damage. ROA.3987. Other courts have

repeatedly rejected similar attempts to end-run the church autonomy
doctrine with tortious interference claims. Payne-Elliott v. Roman Cath-

olic Archdiocese of Indianapolis, 193 N.E.3d 1009, 1015 (Ind. 2022); Bra-

zauskas v. Fort Wayne-S. Bend Diocese, 796 N.E.2d 286, 294 (Ind. 2003).
  The original disagreement between the Mission Board’s leaders and

Pastor McRaney centered around Pastor McRaney’s execution of the

Strategic Partnership Agreement between the Baptist Convention and
the Mission Board, an “inherently religious doctrine-based document”

“entirely focused on religious matters, including ministry priorities, reli-

gious purpose, and missionary personnel and funding.” ROA.3988. The

record shows that this agreement cannot be interpreted without under-

standing the Southern Baptist Convention’s doctrinal statement and spe-

cific cited scriptures. ROA.1702-03; ROA.1801.

  Thus, determining whether the Mission Board acted “without right or

justifiable cause” would require the District Court to decide whether Mis-

sion Board’s critical statements were “justified” by the terms of this reli-

gious agreement. ROA.3987. And ruling on the proximate cause element

would require the District Court to “weigh in on [Pastor McRaney’s] job

performance as [the Baptist Convention’s] Executive Missional Strate-
gist”—a    “clearly”   ministerial      role—and     evaluate     the    Baptist


                                     21
      Case: 23-60494   Document: 57-2     Page: 30   Date Filed: 12/07/2023




Convention’s “internal policies, procedures, and decision-making, in or-

der to determine if [the Mission Board] influenced” the Baptist Conven-

tion’s decision to let him go. ROA.3988. Those are not things civil courts

can do. In short, after nearly seven years of litigation, the district court
was right not to let the judiciary be drawn yet further into this religious

doctrinal dispute.

  Second, Pastor McRaney’s claims would require secular courts to in-
terfere with, and thus chill, intra-Baptist communications about Pastor

McRaney’s fitness for religious leadership. Other courts have repeatedly

declined invitations to do just that. In Bryce, the Tenth Circuit held that
the church autonomy doctrine precluded claims brought by the wife of a

minister, who was not a church member, over offensive statements made

during congregational meetings. 289 F.3d at 658. The Tenth Circuit em-

phasized that “church autonomy doctrine is rooted in protection of the

First Amendment rights of the church to discuss church doctrine and pol-

icy freely.” Id. It accordingly held that “[t]he applicability of the doctrine

does not focus upon the relationship between the church and [the non-

member spouse],” but “on the right of the church to engage freely in ec-

clesiastical discussions with members and non-members.” Id.

   Similarly, in Diocese of Lubbock, the Texas Supreme Court dismissed

claims brought by a minister against his former diocese over the diocese’s

publication of sexual abuse charges against him. 624 S.W.3d at 518. The
Texas Supreme Court held that the diocese’s public statements to non-


                                     22
     Case: 23-60494   Document: 57-2     Page: 31   Date Filed: 12/07/2023




members were covered by the church autonomy doctrine, which “allows

a religious institution to engage freely in ecclesiastical discussions with

more than just its members.” Id.; accord El-Farra v. Sayyed, 226 S.W.3d

792, 795-96 (Ark. 2006) (dismissing defamation claims regarding state-
ments “made in the context of a dispute over [plaintiff’s] suitability to

remain as Imam”); Hiles v. Episcopal Diocese of Mass., 773 N.E.2d 929,

935-37 (Mass. 2002) (rejecting defamation claim “aris[ing] out of the
church-minister relationship in the religious discipline context”); Heard

v. Johnson, 810 A.2d 871, 880-82 (D.C. 2002) (same); Bacharach v. Star

K Certification, No. 1142, 2022 WL 4299571, at *3 (Md. Ct. Spec. App.
Sept. 19, 2022) (rejecting tortious interference with contract claim that

required interpretation of disputed ecclesiastical issues). The same is

true here: the Mission Board’s communications with other Baptist organ-

izations about Pastor McRaney’s spiritual leadership abilities are pro-

tected by the First Amendment.

  Third, Pastor McRaney’s claims require judicial interference in Bap-

tist polity. Even adjudicating his claims has taken a wrecking ball to sen-

sitive First Amendment protections against church-state entanglement.

Both the Mission Board’s and the Baptist Convention’s internal records

regarding Pastor McRaney’s termination were exposed to discovery, even

though such intrusion to “probe the mind of the church” over ministerial

decisions has long been recognized as unconstitutional. Rayburn, 772
F.2d at 1171; see, e.g., ROA.862-64 (allowing discovery from the Baptist


                                    23
      Case: 23-60494   Document: 57-2    Page: 32   Date Filed: 12/07/2023




Convention); accord Combs, 173 F.3d at 350; McClure, 460 F.2d at 560;

Hosanna-Tabor, 565 U.S. at 194-95. The district court had properly fore-

closed such intrusion at an earlier stage of this case, but it reversed that

position on remand. ROA.864. This allowed depositions of other pastors
and ministers, including Pastor McRaney’s deposition of a fellow minis-

ter—the President of the Baptist Convention—about internal religious

disputes and leadership decisions, precisely the kind of interference the
en banc Seventh Circuit recently found off-limits. See, e.g., ROA.862-64;

Demkovich, 3 F.4th at 977-78. And that reversal also allowed the Mission

Board to subpoena the Baptist Convention’s internal deliberations.
ROA.864. Turning Baptist institutions against each other to resolve a

ministerial dispute is a harm that the Religion Clauses was meant to

prevent.

  Pastor McRaney responds to these three fatal defects in his case by

asserting that his claims can be resolved under “neutral principles,” with-

out evaluating any religious questions. That is impossible in a case like

this, where a religious leader is suing a religious group over a religious

dispute. Ruling otherwise is “inconsistent with precedent” and would

“eviscerate the church autonomy doctrine.” Belya, 59 F.4th at 580 (Park,

J., dissenting from denial of rehearing en banc).

  Neutral principles can no more resolve Pastor McRaney’s Mississippi

tort claims than it could resolve Officer McClure’s Title VII sex discrimi-
nation claims in McClure v. Salvation Army, or the Americans with


                                    24
     Case: 23-60494   Document: 57-2     Page: 33   Date Filed: 12/07/2023




Disabilities Act claims brought by Lutheran and Catholic schoolteachers

in Hosanna-Tabor and Our Lady. In each of these cases, there were of

course some issues—wages and work assignments, performance evalua-

tions and evidence of pretext—that federal courts routinely evaluate. But
in each case, this Court and the Supreme Court resisted the siren song of

neutral principles in religious leadership disputes and refused to be

drawn in. Serbian E. Orthodox Diocese for U.S. & Can. v. Milivojevich,
426 U.S. 696, 721 (1976) (explaining that “the First and Fourteenth

Amendments forbid” applying “neutral principles” in a way that allows

secular courts to review the internal religious decisions of churches).
  Other courts agree. The Sixth Circuit, rejecting a minister’s defama-

tion claim, squarely held that the “neutral principles” approach “applies

only to cases involving disputes over church property” and is “simply not

applicable” where a minister’s claim relates to a dispute over his “status

and employment as a minister of the church.” Hutchison, 789 F.2d at 396.

Similarly, in Catholic University, the D.C. Circuit explained that “neutral

principles” refers to “trust and property law,” and rejected the argument

that a ministerial Title VII dispute “can be resolved without entangling

the Government ‘in questions of religious doctrine, polity, and practice’

by invoking ‘neutral principles of law.’” 83 F.3d at 465-66; Demkovich, 3

F.4th at 977-78 (rejecting usage of “neutral principles” to adjudicate min-

ister’s Title VII claim). Accord Diocese of Lubbock, 624 S.W.3d at 516
(“neutral principles” inapplicable to defamation claim); El-Farra, 226


                                    25
     Case: 23-60494   Document: 57-2    Page: 34   Date Filed: 12/07/2023




S.W.3d at 795-96 (rejecting “neutral principles” approach); Hiles, 773

N.E.2d at 935-37 (rejecting adjudicating church-minister defamation dis-

putes under “the established rules of common law”); Heard, 810 A.2d at

880-82 (“neutral principles” inapplicable to minister’s defamation claim).
                            CONCLUSION

  Pastor McRaney’s claims should have been dismissed under the min-

isterial exception in 2017. Nearly seven years later, the inherently reli-
gious nature of his dispute with the Mission Board over his fitness to

start Baptist churches, speak at Baptist missions conferences, lead Bap-

tist churches, and sell books on evangelism to other Baptists is even
clearer. This Court should affirm the judgment below.



  Dated: December 7, 2023                Respectfully submitted,
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                                   26
     Case: 23-60494    Document: 57-2    Page: 35   Date Filed: 12/07/2023




                      CERTIFICATE OF SERVICE

  On December 7, 2023, this brief was served via CM/ECF on all regis-

tered counsel and transmitted to the Clerk of the Court. Counsel further

certifies that: (1) any required privacy redactions have been made in com-
pliance with Fifth Circuit Rule 25.2.13; and (2) the electronic submission

is an exact copy of the paper document in compliance with Fifth Circuit

Rule 25.2.1.


                                    /s/ Daniel H. Blomberg
                                    Daniel H. Blomberg




                                    27
     Case: 23-60494    Document: 57-2    Page: 36   Date Filed: 12/07/2023




                 CERTIFICATE OF COMPLIANCE

  This brief complies with: (1) the type-volume limitation of Federal

Rule of Appellate Procedure 32(a)(7)(B) because it contains 6,174 words,

excluding the parts exempted by Federal Rule of Appellate Procedure
32(f); and (2) the typeface and type style requirements of Rule 32(a)(5)

and (6) because it has been prepared in a proportionally spaced typeface

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for the word count).


                                    /s/ Daniel H. Blomberg
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                                    28
